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Michael A. McGill SBN 231613 Fi L E D

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Attorneys for Plaintiffs
MICHAEL NEVEU

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

MICHAEL NEVEU, . Case No.: CIV-F-04-6490-OWW-LIJO
Plaintiff,
STIPULATION AND [ERORSBED |
v. | ORDER CONTINU

DISPOSITIVE MOTION DATES
CITY OF FRESNO, a gnunicipality;
JERRY DYER. individ u, ally;
MICHAEL GUTHRIE, individually;
GREG GARNER, in dividually,
DARREL FIFIELD, individu ally:
MARTY WEST, ST, individually OGER

ENMARK, individually; DOES |
THROUGH 10,
Defendants.
TO THIS HONORABLE COURT:

The last day for parties to file and serve dispositive motions is currently May
7, 2007. The dispositive motion hearing date for any such motion is set for June 4,
2007. Therefore, any opposition to any such motion would have to be personally
served and filed on or before May 21, 2007. Counsel for Plaintiff currently is
scheduled to be out of the state the entire week of May 13, 2007 through May 19,
2007 and will not be able to adequately prepare any opposition.

For this reason, the parties desire to extend the dispositive motion filing date
and the hearing date two weeks. Therefore, the parties request that the Court adopt
the following dates:

STIPULATION AND [PROPOSED] ORDER

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Case 1 ae “ov-06490. EW Document 62. Filed 04/19/2007 “BARES o

Last Day to file and personally serve dispositive motions: 5/21/07

Dispositive motion hearing date: 6/18/07
All other dates remain unchanged.
Respectfully submitted,
Date: April (_, 2007 LACKIE & DAMMEIER APC
SE A. 4
Attomeys for Plaintiff
MICHAEL NEVEU
Date: April /? , 2007 BETTS & WRIGHT
Joséph D, Rubin
Attomeys for Defendants
CITY OF FRESNO, ET AL.
[PROPOSED] ORDER
GOOD CAUSE appearing, the Court orders that the new dates for this case
are as follows: .
Last Day to file and personally serve dispositive motions: 5/21/07
Dispositive motion hearing date: 6/18/07
All other previously entered dates remain unchanged.
ITIS SO ORDERED. . MWe,
Dated: Apri? , 2007 Minn

Honorable Oliver W. Wangéy

STIPULATION AND [FROPOSED] ORDER
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TOTAL P.@2

